CaSe: 5218-CV-OJ_891-SL DOC #Z 7 Filed: 08/21/18 l Of l. Page|D #Z 224

 

 

mt 1
z
§§:l§}i
W

ball

 

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF OHIO

EASTERN DIVISION
UNITED STATES OF AMERICA, ) CASE NO.: 5:18CVl89l
)
Plaintiff, ) JUDGE SARA LIOI
)
v. )
)
MICHAEL P. TRICASO, D.O., ) MOTION TO UNSEAL
)
Defendant. ) FILED TEMPORARILY UNDER SEAL

 

Pursuant to the Court’s August l7, 20l 8, Order, undersigned counsel hereby notifies the
Court that the search Warrants associated With the ongoing criminal investigation of Michael P.
Tricaso, D.O. have been executed Therefore, the United States requests that the seal on this
case be lifted and all documents be made available to the public.
Respectfully submitted,

JUSTIN E. HERDl\/IAN
United States Attorney

~` ',» j /f“'jf;§;r§"“`ow'§“%"
By: : fm ,,/§"" t §

;;}~”Patricia Fitzgerald (PA: 308973)
Assistant United States Attorney
United States Court House
80l West Superior Avenue, Suite 400
Cleveland, OH 44l13
(216) 622-3779
(216) 522-2404 (facsimile)

Patricia.Fitzgerale@usdoj . gov

 

